   Case 5:17-cv-05059-JLV Document 6 Filed 07/24/17 Page 1 of 5 PageID #: 76




        IN THE UNITED STATES DISTRICT
    COURT DISTRICT OF SOUTH DAKOTA


AZAELDYTHIANPERALESetal.,                                          _ _   FTT.Pr»
                                                                         JUL 2 4 2017
                         (Plaintiffs)
                                                                                CLERK


                   Vs.




Judicial Council ofCalifornia et al.,

Governmental Affairs

770 L Street, Suite 1240

Sacramento, CA 95814-3368



HON. TANI CANTIL-SAKAtrYE e.g.

Chief Justice of California

Chair of the Judicial Council



MARTIN HOSHINO

Administrative Director




General Advocacy Cory Jasperson e.g.,

Laura Speed e.g.

Access to Justice/Self-represented Litigants -Alan Herzfeld e.g.
Appellate Law- Daniel Pone e.g

Bench-Bar Coalition - Laura Speed e.g.

Budget - Cory Jasperson e.g.
    Case 5:17-cv-05059-JLV Document 6 Filed 07/24/17 Page 2 of 5 PageID #: 77



Andi Liebenbaum e.g.

Civil Procedure - Daniel Pone e.g.

Communications Liaison - Laura Speed e.g.
Court Closures/Service Reduction - Laura Speed e.g.

Court Facilities - Cory Jasperson e.g.
Court Interpreters - Alan Herzfeld e.g.
Court Reporters - Alan Herzfeld e.g.

Court Security - Sharon Reilly e.g.
Criminal Procedure - Sharon Reilly e.g.
Day on the Bench - Laura Speed e.g.

Employment Issues (trial court labor, court staff, retirement- Laura Speed e.g.
Family Law - Alan Herzfeld e.g.

Fiscal Impact ofLegislation/Appropriations - Andi Liebenbaum e.g.
Judgeships and Subordinate Judicial Officers - Alan Herzfeld e.g.
Judicial Administration Fellowship Program - Laura Speed e.g.
Judicial Conduct - Laura Speed e.g.

Judicial Education- Laura Speed e.g.
Judicial Elections - Laura Speed e.g.

Judicial Service - Laura Speed e.g.
Jury Issues - Sharon Reilly e.g.

Daniel Pone e.g.


Juvenile Delinquency - Alan Herzfeld e.g.

Juvenile Dependency Alan Herzfeld e.g.
Probate and Mental Health Daniel Pone e.g.

Redistricting/Judicial Redistricting- Laura Speed e.g.
State Bar/Practice ofLaw - Daniel Pone e.g.

Traffic Law - Sharon Reilly e.g.
   Case 5:17-cv-05059-JLV Document 6 Filed 07/24/17 Page 3 of 5 PageID #: 78



& Andi Liebenbaum e.g.

California Supreme Court et al.,
350 McAllister St,
Room 1295
San Francisco, GA 94102

Chief Justice Jani(jorre CantihS^auye e.g;
Honorable Kathryn M. Werdegar
Honorable Ming W. Chin
Honorable Carol A. Corrigan
Honorable Goodwn H. Liii
Honprable;i^^iano:FlorentinaCuellar
Hotiorable Leondra R, Kruger


U.S. Department ofthe Treasury et al.,
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San Francisco, CA 94102

U.S. Department ofthe Treasury et al,
200 Bush Street, Suite 101
San Francisco, CA 94104

U.S. Department ofthe Treasury et al.,
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Kevin Riley, Director- Meredith McDaniel, Supervisory Auditor-
 Kyle Bambrough,-Lead Auditor
Frank O'Connor, Senior Auditor
Commissioner Office ofthe Commissioner- Attn: Chief of Staff Chief Agency-Wide Shared
Services Director, Facilities Management and Security Services Director, OfEce of Audit
Coordination
   Case 5:17-cv-05059-JLV Document 6 Filed 07/24/17 Page 4 of 5 PageID #: 79



Gregory D. Kutz, Acting Deputy Inspector Greneral for Inspections and Evaluations Phil
Shropshire, Director Heather Hill, Supervisory Evaluator Earl Charles Bumey,Lead Program
Analyst Gene Luevano, Senior Auditor
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SE;S:C Director, Office of Audit Coordination OS:PPAC

U.S. Department Of The Treasury, Internal Revenue Service
Atlanta, GA 30308
Michael E. McKenney Deputy Inspector General for Audits
COMMISSIONER, WAGE AND INVESTMENT DIVISION



Kenneth C. Corbin, Commissioner-Wage and Investment Division
Russell P. Martin, Assistant Inspector General for Audit(Returns Processing and Account
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Lead Auditor Tracy M. Hernandez, Senior Auditor Lance J. Welling, Information Technology
Specialist(Data Analytics) Nathan J. Cabello, Auditor
Commissioner Office ofthe Commissioner- Attn: Chief of StaffDeputy Commissioner for
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Processing, Wage and Investment Division Director, Office of Audit Coordination


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Hotline
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& All Related Defendants

                                 (Defendants)

     PETITION FOR WRIT OF MANDAMUS AND VERIFIED
     COMPLAINT FOR INJUNCTIVE AND DECLARATORY
           RELIEF PRELIMINARY STATEMENT
    Case 5:17-cv-05059-JLV Document 6 Filed 07/24/17 Page 5 of 5 PageID #: 80



(1.) This is an action for mandamus, declaratory, and injunctive reliefto compel the Defendants
and the United States of America, its responsible executive officials— Judicial Council ofthe
State of California et al., California Supreme Court et al.. State of California Superior Courts et
al., California 4^** Appellate District Division 3 Case No. G046026 & Superior Court of
California Santa Ana Central Justice Center and others—^to perform their mandatory duties
according to 42 U.S.C.§ 1983, popularly known as "Section 1983," is a federal law that allows
lawsuits for violations of constitutional rights. The Constitutions ofthe United States and the
Plaintiff Azael D. Perales et al., asserts to the honorable court to place ultimate constitutional
responsibility on the Defendants, Federal Government and the State of California. (2.)I the
Plaintiff am asserting to the honorable court to provide effective and conflict-free counsel at
public expense to indigent defendants in all critical phases ofa criminal prosecution, which
includes this motion to cease and desist all forms of violations of 42 U.S.C. § 1983, Title IV
Civil rights act of 1964,The United States Constitution Article 4
Section 4: Obligations ofthe United States.
Clause 1: Republican government;
The United States shall guarantee to every State in this Union a Republican Form of
Government,[...]This clause, sometimes referred to as the Guarantee Clause, has long been at the
fore-front ofthe debate about the rights of citizens vis-a-vis the government. The Guarantee
Clause mandates that all U.S. states must be grounded in republican principles such as the
consent ofthe governed. By ensuring that all states must have the same basic republican
philosophy, the Guarantee Clause is one ofseveral portions ofthe Constitution which
mandates svmmetric federalism between the states on the Plaintiff Azael D. Perales and the
general public ofthe United States of America in public and private entities and businesses in
which I patronage.(3) The Federal Indigent Defense 2015 and the Criminal Justice          (1993)
mandates and its officials "shall be responsible for assuring that adequate and effective legal
representation is provided, independently of political considerations or private interests, to
indigent persons who are entitled to representation under this chapter such as the Plaintiff Azael
Dythian Perales, thank you.




Date: July 20. 2017                                Signature.

                                                   Name: AZAEL DYTHIAN PERALES
                                                           (Typed or Print)
Telephone;(714)732-8532               Address: P.O. Box 501 Fulierton. Cailfomia 92838
